Case 1:22-cv-10904-JSR Document 240-23 Filed 07/25/23 Page 1 of 7




                 EXHIBIT 123
  Case 1:22-cv-10904-JSR Document
                             Mary240-23 Filed 07/25/23 Page 2 of 7
                                   Erdoes

 1    UNITED STATES DISTRICT COURT FOR THE

 2    SOUTHERN DISTRICT OF NEW YORK

 3    ---------------------------------------X

 4    Jane Doe 1, individually and on behalf of

      all others similarly situated,

 5
 6                           Plaintiff,            Case No.

                                                   1:22-cv-10019 (JSR)

 7               v.

 8    JPMorgan Chase Bank, N.A.,

                             Defendant.

 9    ---------------------------------------

10    GOVERNMENT OF THE UNITED STATES

      VIRGIN ISLANDS,

11                                                Case No.

                                                  1:22-cv-10904 (JSR)

12                           Plaintiff,

13               v.

14    JPMORGAN CHASE BANK, N.A.,

15                           Defendant

16    ----------------------------------------

17      ** CONFIDENTIAL PORTION UNDER SEPARATE COVER **

18               ** DEPOSITION OF MARY ERDOES **

19                    Wednesday, March 15, 2023

20
21
22
23    Reported by:

24    Angela M. Shaw-Crockett, CCR, CRR, RMR




Golkow Litigation Services                                           Page 1
  Case 1:22-cv-10904-JSR Document
                             Mary240-23 Filed 07/25/23 Page 3 of 7
                                   Erdoes

 1         Q.    In the production we received in this

 2    case, we got something that looked like a phone log,

 3    and it apparently tracks -- I'm assuming it's your

 4    office phone, as to caller, recipient, maybe some

 5    notes about it.

 6               Do you understand how that system works?

 7         A.    I understand that's an older system that

 8    we used to have, where I think that my assistants

 9    kept a log of the calls that came in or messages

10    that people left on an Excel spreadsheet, yes.

11         Q.    So that was unique to you, not a firm --

12    that was not a --

13         A.    I'm not aware of how others did it.      I

14    think others did it with pink sheets.

15         Q.    Do you know whether Mr. Epstein had a

16    relationship with Glenn Dubin?

17         A.    Yes, Mr. Epstein had a relationship with

18    Glenn Dubin.

19         Q.    What did you understand that relationship

20    to be?

21         A.    I understood Mr. Epstein to be -- to have

22    had a past relationship with Mr. Dubin's wife.       And

23    I understood that Mr. Epstein was the godfather of

24    one of the Dubin -- the oldest of the Dubin




Golkow Litigation Services                                           Page 173
  Case 1:22-cv-10904-JSR Document
                             Mary240-23 Filed 07/25/23 Page 4 of 7
                                   Erdoes

 1    hush payments to victims and recruiters and things

 2    of that nature, correct?

 3         A.    Those two things, unfortunately, never

 4    came together in my mind.

 5         Q.    Okay.   It's not until right now that we're

 6    having this discussion that things are kind of

 7    starting to -- the puzzle is coming together?

 8               MR. JOHNSON:   Objection.

 9               You can answer.

10         A.    At the time, the concern was the cash

11    payments, and at the time, the cash payments were

12    related to airplane usage.

13               And never at the time was that something

14    that I was connecting in my mind with anything to do

15    with any of the allegations of what he may or may

16    not have done, and I wasn't aware of any ongoing

17    things that Mr. Epstein was doing, and the two

18    things never -- they never came to my mind to

19    connect them.

20    BY MR. EDWARDS:

21         Q.    With respect to the cash payments, if you

22    believed that he was withdrawing cash because that's

23    the way -- that's the way it was necessary to make

24    payments for jet fuel, that's not somebody that you




Golkow Litigation Services                                           Page 182
  Case 1:22-cv-10904-JSR Document
                             Mary240-23 Filed 07/25/23 Page 5 of 7
                                   Erdoes

 1    would terminate from the bank if you believed that

 2    story, right?

 3         A.    Correct.

 4         Q.    So he gave an explanation as to why these

 5    massive amounts of cash were being withdrawn from

 6    the bank, but fair to say it was not a believable

 7    explanation, correct?

 8         A.    I thought the explanation was an outsized

 9    amount of cash, and even though that was his

10    explanation for where the cash was being used, that

11    in conjunction with the culmination of everything

12    else and the fact that I didn't know or like

13    Mr. Epstein, I had no reason to vouch for

14    Mr. Epstein to be a client of the bank, and I

15    recommended exit and we exited.

16         Q.    Do you believe that just with the analysis

17    that you did in 2013 that you made the right

18    decision, the responsible decision on behalf of the

19    bank, to exit Mr. Epstein as a client?

20         A.    I am glad I exited Mr. Epstein from the

21    bank.

22         Q.    And when he was exited from the bank, did

23    you learn immediately that he was going to set up

24    new accounts at Deutsche Bank?




Golkow Litigation Services                                           Page 183
  Case 1:22-cv-10904-JSR Document
                             Mary240-23 Filed 07/25/23 Page 6 of 7
                                   Erdoes

 1         A.    I don't know exactly what this is related

 2    to, but it was in the zone of the time period that I

 3    recall going to his house, and the time period where

 4    I was responsible for or I was involved with being

 5    an interface with Mr. Epstein and the firm on the

 6    lawsuit that Mr. Epstein had against JPMorgan.

 7    BY MR. EDWARDS:

 8         Q.    What was the nature of that lawsuit?

 9         A.    I have a general recollection that the two

10    hedge funds that were inside of Bear Stearns prior

11    to Bear Stearns being sold to JPMorgan had a stress

12    situation and lost value.

13               And I'm assuming Mr. Epstein had been an

14    investor because he was suing us for large sum of

15    money for his losses in the Bear Stearns hedge

16    funds.

17         Q.    Okay.   So whatever happened that led to

18    the lawsuit was something that happened at

19    Bear Stearns, but then when Bear Stearns was

20    acquired by JPMorgan, you inherited the mess?

21         A.    Correct.

22         Q.    Got it.    Okay.

23               And ultimately, that case then was settled

24    with Jeffrey Epstein by JPMorgan, who had inherited




Golkow Litigation Services                                           Page 285
  Case 1:22-cv-10904-JSR Document
                             Mary240-23 Filed 07/25/23 Page 7 of 7
                                   Erdoes

 1    the Bear Stearns mess?

 2           A.   Yes.

 3           Q.   Do you remember how much it was settled

 4    for?

 5           A.   I don't remember the specific dollar

 6    amount settlement.

 7           Q.   I'm sorry.

 8           A.   I don't remember the dollar amount

 9    settlement.

10                MR. EDWARDS:    I'm going to show you what's

11           been marked as Plaintiff's 44.

12                (Erdoes Exhibit 44 was received and marked

13           for identification, as of this date.)

14    BY MR. EDWARDS:

15           Q.   Okay.    Is                -- is that

16

17           A.   Yes.

18           Q.   I thought I caught that this morning.

19                This is an email from, then, initially you

20    to                  , but then he responds, saying:

21                "Epstein there with Miley Cyrus."

22                Was that intended to be a joke?

23           A.   I don't know.

24           Q.   In the context at the time that this is




Golkow Litigation Services                                           Page 286
